                           DECISION OF DISMISSAL
This matter is before the court on Defendant's Motion to Dismiss on the ground that Plaintiffs failed to appeal within the 90 days required by ORS 305.280(1).
A review of Plaintiffs' materials shows Defendant gave Plaintiffs actual notice of Defendant's clerical error correction on June 30, 2008. Plaintiffs did not file their appeal until October 9, 2008. This interval is longer than the 90 days allowed by ORS 311.223(4) and ORS305.280(1), 1which provide:
    "Except as otherwise provided in this section, an appeal under ORS 305.275 (1) or (2) shall be filed within 90 days after the act, omission, order or determination becomes actually known to the person, but in no event later than one year after the act or omission has occurred[.]"
ORS 305.280(1).
Plaintiffs have not presented any fact or argument which prevents the application of that statute. Defendant's motion is granted. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that Defendant's Motion to Dismiss is allowed. The Complaint is dismissed.
Dated this ___ day of June 2009.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Jeffrey S. Mattson on June 3,2009. The Court filed and entered this document on June 3, 2009.
1 References to Oregon Revised Statutes (ORS) are to 2007. *Page 1 